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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                              NORTHERN DISTRICT OF CALIFORNIA

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                                   7     COLLEEN MARY ROHAN, ex rel.                        Case No. 88-cv-02779-WHA
                                         OSCAR GATES,
                                   8                                                        DEATH PENALTY CASE
                                                        Petitioner,
                                   9                                                        ORDER
                                                 v.
                                  10
                                         RON BROOMFIELD, Acting Warden, San
                                  11     Quentin State Prison,
                                                        Respondent.
                                  12
Northern District of California
 United States District Court




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                                  14      Respondent has filed a motion to conduct discovery in conjunction with the evidentiary

                                  15   hearing scheduled to commence on August 16, 2021, at 8:00 a.m. Petitioner objects to the scope

                                  16   of respondent’s requested discovery as well as respondent’s failure to include appropriate

                                  17   protective language regarding disclosure and use of confidential materials obtained through

                                  18   discovery. Docket No. 931 at 2-4. Petitioner’s overbreadth objection is rejected. First, the

                                  19   authority petitioner cites in support of his this argument, Bittaker v. Woodford, 331 F.3d 715 (9th

                                  20   Cir. 2003), concerned entry of a protective order governing disclosure of the entire contents of

                                  21   underlying trial counsel’s files due to the allegation that such counsel rendered ineffective

                                  22   assistance. See id. at 717 n.1 (quoting from the district court’s protective order governing

                                  23   “discovery granted to respondent pursuant to respondent’s motion to discover trial counsel’s

                                  24   files”). See also Joint Stipulation of the Parties Regarding Discovery Requests (Docket No. 393)

                                  25   at 9, Bittaker v. Woodford, No. CV 91-1643-WMB (entered October 9, 2001) (describing

                                  26   respondent’s request to discover, with no objection lodged by petitioner, “[a]ll documents in the

                                  27   files” of petitioner’s trial counsel). Bittaker governs the scope of a habeas petitioner’s waiver of

                                  28   attorney-client privilege when complaining about ineffective assistance of counsel and provides
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                                   1   guidance about how to define the scope of such waiver. 331 F.3d at 716-17 (“The question

                                   2   presented to us is the scope of the habeas petitioner’s waiver: Does it extend only to litigation of

                                   3   the federal habeas petition, or is the attorney-client privilege waived for all time and all

                                   4   purposes—including the possible retrial of the petitioner, should he succeed in setting aside his

                                   5   original conviction or sentence?”) (emphasis in original). Nothing in Bittaker forbids respondent

                                   6   from discovery of trial counsel’s files, including, potentially, some irrelevant materials, where

                                   7   petitioner has alleged that trial counsel rendered ineffective assistance, as petitioner here has

                                   8   alleged. Second, given petitioner’s counsel’s objection that he lacks sufficient time to review all

                                   9   file documents to distinguish relevant and irrelevant documents, see Docket No. 931-1 at 3,

                                  10   disclosure of the entire file’s contents will ease counsel’s burden in complying with discovery,

                                  11   thus obviating the need for counsel to parse through all file contents and, further, submit

                                  12   documents for proposed in camera review.
Northern District of California
 United States District Court




                                  13      The objections of petitioner and counsel representing petitioner in his habeas actions pending

                                  14   in the Central District of California concerning the omission of appropriate protective language in

                                  15   respondent’s proposed order, as well as their contention that an appropriate protective order should

                                  16   be entered before production of documents, are well-taken. Respondent agrees that relevant

                                  17   language reflecting the rule of Bittaker should be included in a protective order. Docket No. 934

                                  18   at 1-2. Accordingly, all concerned parties shall collaborate and agree upon a protective order

                                  19   governing disclosure of trial counsels’ files in this case. The joint proposed protective order shall

                                  20   be filed on or before 12:00 p.m. on July 21, 2021.

                                  21      IT IS SO ORDERED.

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                                          Dated:      July 16, 2021
                                  23                                                  WILLIAM ALSUP
                                                                                      UNITED STATES DISTRICT JUDGE
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